      Case 14-31229-sgj15       Doc 196 Filed 07/15/19 Entered 07/15/19 15:37:27                Desc
                                  Main Document     Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.



 Signed July 12, 2019
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION



     IN RE:                                          §
                                                     §
     MTGOX CO., LTD. (a/k/a MTGOX KK),               §           CASE NO. 14-31229-SGJ-15
                                                     §
            Debtor.                                  §


           ORDER REGARDING MOTION REQUESTING STATUS CONFERENCE

            Before this court is a Motion Requesting Status Conference (the “Motion”) [DE # 915]

     filed by Jed McCaleb (the “Movant”). Movant has not previously appeared during this more

     than five-year-old Chapter 15 case, but represents that he: (1) is the former owner of MtGox Co.,

     Ltd. (“MtGox”); (2) has long been facing litigation claims filed against him by former customers

     of MtGox; (3) has contingent indemnification claims back against MtGox relating to these

     customer claims; and (4) has no way to have his proof of claim relating to his indemnification




                                                         1
 Case 14-31229-sgj15         Doc 196 Filed 07/15/19 Entered 07/15/19 15:37:27                 Desc
                               Main Document     Page 2 of 3



claims allowed, under the procedures or guidelines set up in the foreign main proceeding by the

Japanese court.

       The court first observes that the attorney who has filed the Motion is based in Mississippi

and is not admitted to practice in the United States District Court for the Northern District of

Texas. This court will not consider the Motion unless and until said attorney moves for

admission pro hac vice in this court and associates local counsel in connection with any such

admission.

       Additionally, the court has some concern about what relief the Movant is seeking and

ensuring appropriate notice and due process to anyone who might be affected. The court cannot

give advisory opinions on what may or may not be a viable solution to the Movant’s perceived

problem with the Japanese court. While the court might be amenable to setting a status

conference (without there being a specific motion seeking relief of some sort), the court prefers

to do so only upon representations that: (a) the Movant has conferred with parties in interest first

(at a minimum, counsel for the Foreign Representative and the United States Trustee), and (b)

they either agree or do not agree that a status conference would be helpful to all concerned.

       Accordingly, it is

       ORDERED that Movant’s counsel shall comply with this court’s rules regarding pro hac

vice appearances if he wants to file pleadings and participate in this case; it is further

       ORDERED that, in order to obtain a setting, Movant shall confer with other parties in

interest (at least the Foreign Representative’s counsel and United States Trustee) and file an

Amended Motion with a Certificate of Conference indicating he has done so and whether they

oppose his Motion; it is further




                                                       2
 Case 14-31229-sgj15       Doc 196 Filed 07/15/19 Entered 07/15/19 15:37:27         Desc
                             Main Document     Page 3 of 3



       ORDERED that in any Amended Motion, Movant shall specifically state what relief he

might be seeking from the court.

                                   ###END OF ORDER###




                                                3
